   Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 1 of 82




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


DEMONTRAY HUNTER, et al.,            )
                                     )
     Plaintiffs,                     )
                                     )         CIVIL ACTION NO.
     v.                              )          2:16cv798-MHT
                                     )               (WO)
LYNN T. BESHEAR, in her              )
official capacity as the             )
Commissioner of                      )
the Alabama Department of            )
Mental Health,                       )
                                     )
     Defendant.                      )


       FINAL SETTLEMENT APPROVAL OPINION AND ORDER

    The claim presented in this litigation is that the

Alabama   Department     of   Mental       Health     (ADMH)   fails     to

provide timely competency mental-health evaluations and

restoration    treatments       to       pretrial     detainees.        The

claim rests on the Due Process Clause of the Fourteenth

Amendment, as enforced through 42 U.S.C. § 1983.

    The plaintiffs are pretrial detainees who have been

found incompetent to stand trial and committed to the

custody   of   the    ADMH    for        competency    restoration       if

possible; a pretrial detainee who may be incompetent
      Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 2 of 82




and     has     been     committed           for       an    inpatient          mental

evaluation;        and      the    Alabama             Disabilities         Advocacy

Program       (ADAP),       Alabama’s         protection            and     advocacy

organization        for        people        with       mental      illness          and

disabilities.          The defendant is the Commissioner of the

ADMH, sued in her official capacity only.

       Briefly, plaintiffs claim that the ADMH fails to

provide timely competency evaluations and restoration

services because demand for those services exceeds the

Department’s        capacity       to        provide         them    through         the

psychiatric hospitals it operates.                           They alleged that

the     pretrial       detainees        remained            incarcerated        in     a

county jail for up to eight months after a court order

committing       them     to    the     Department           for    treatment         or

evaluation.          They      sought    declaratory             and      injunctive

relief.       Jurisdiction is proper under 28 U.S.C. § 1331

(federal question) and 28 U.S.C. § 1343 (civil rights).

       The     parties         submitted           a     joint       motion          for

preliminary        approval       of     a     settlement.                The    court

granted preliminary approval; provisionally certified a


                                         2
   Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 3 of 82




putative       plaintiff       class;        required      notice       to    class

members         and      their         representatives;             entertained

objections         and   comments       from     the      members       and    their

representatives; and held a fairness hearing.

       For the reasons that follow, the court will grant

final    approval        of    the     settlement         and     the    parties’

request to enter a consent decree.



              I.    DESCRIPTION OF PROPOSED SETTLEMENT

       The settlement agreement runs some 43 pages.                               It

provides for the following.

       Timely         Provision         of          Court-Ordered             Mental

Evaluations and Competency Restoration Treatment:                                The

ADMH     is     required       to      provide       court-ordered            mental

evaluations and competency restoration treatment within

specified time periods:

       (1)    Mental     Evaluations:          By    12    months       after

       final       approval,     the    Department         must     conduct

       both        inpatient         and       outpatient           mental

       evaluations within 45 calendar days of the date


                                         3
Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 4 of 82




 of ADMH’s receipt of the circuit court order

 mandating     the      evaluation,        and     the      clinician

 must submit a report with the findings from the

 evaluation to the circuit court within 45 days

 of conducting the evaluation.                        By 24 months

 after    final    approval,         the     time      periods      are

 reduced to 30 days.

 (2)     Competency        Restoration              Therapy         and

 Treatment: By 12 months after final approval,

 the     Department       must       admit       persons        found

 incompetent to stand trial and committed to its

 custody     for     treatment        into       an      institution

 suitable for treatment within 45 days.                        By 24

 months after final approval, the time period is

 reduced to 30 days.

 (3) Order of Evaluations and Treatment:                         As a

 general rule, the Department will continue to

 provide services to those persons it is ordered

 to    evaluate    or    treat       based    on      the    date    of

 receipt     of    the    court       order.       The      agreement


                                 4
Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 5 of 82




 generally prohibits the Department from meeting

 the agreement’s time periods by prioritizing,

 for admission into a state forensic hospital,

 persons     who    have    been        found    incompetent           to

 stand trial and ordered to receive treatment

 over persons who have been found not guilty by

 reason     of     insanity       and    ordered        to        receive

 inpatient       psychiatric            services.             If,      in

 exceptional         circumstances,             the      Department

 ‘skips’ persons found not guilty by reason of

 insanity to treat persons found incompetent,

 the      skip     will       affect       the        Department’s

 compliance rate.          The agreement authorizes, but

 does     not    require,        the    Department           to     treat

 persons earlier than dictated by the date of

 receipt of court order (i.e., ‘line jumping’).

 (4)    Substantial        Compliance:            The        agreement

 defines the standard to determine whether the

 Department is in ‘substantial compliance’ with

 the    agreement.          By     12    months       after         final


                                  5
Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 6 of 82




 approval,      the    average         time   period       for    the

 provision of inpatient and outpatient mental

 evaluations          and         competency        restoration

 treatment must not exceed the applicable time

 frame by 20 %.        For example, for a service that

 is to be provided within 45 days, the average

 time period must not exceed 54 days.                        By 24

 months after final approval, the average time

 period may not exceed the applicable time frame

 by 12 %.     For example, for a service that is to

 be provided within 30 days, the average time

 period must not exceed 34 days.                 This section

 also defines the treatment of, for the purposes

 of calculating the Department’s average monthly

 compliance      rate,      and       establishes      a    dispute

 resolution process, concerning individuals who

 are next in line to receive a service but are

 ‘skipped’      by    the    Department        because       of    an

 obstacle to providing the service at that time.




                                  6
      Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 7 of 82




       Increase in Capacity:              The ADMH will increase its

bed capacity to provide court-ordered inpatient mental

evaluations        and      competency       restoration         treatment.

Within 24 months after final approval, the Department

must add and operate 101 total new beds: 49 hospital

forensic      beds    and    52   community     forensic       beds.       Of

those, 44 beds must be operational within 12 months

after final approval (24 hospital forensic beds and 20

community beds).            Five of the community forensic beds

must be suitably located for registered sex offenders;

all     community     forensic      beds    must     be   distributed      in

group homes throughout the State of no greater than 16

beds.

       Training:         The Department will offer initial and

periodic      training      to    state    circuit    court      personnel,

county sheriffs, and members of the Alabama State Bar

concerning the procedures for mental evaluations and

competency-restoration treatment.

       Monitoring:           ADAP     will     monitor        the     ADMH’s

compliance        with     the    consent     decree,      and      will   be


                                      7
   Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 8 of 82




entitled to access relevant documents and to conduct

interviews      with    staff    and persons          referenced       in   the

agreement.       ADAP will prepare quarterly reports on the

Department’s            compliance             containing          written

recommendations         for   any   necessary         changes,     and      the

parties will meet and confer to address any reported

deficiencies.

       Dispute Resolution Process:                  The parties are to

meet    and    confer    to   resolve       any     disputes    that    arise

during the implementation and monitoring periods of the

agreement.       If the parties are unable to resolve the

dispute, they will submit disputes to the magistrate

judge, with appeal to the district court.

       Termination:       The    consent       decree    will    terminate

after    three    years       unless       either    plaintiffs     or      the

parties       jointly    request,      and     the    court     grants,      an

extension.

       Amendment:       The     parties      may     mutually    amend      the

agreement in writing signed by the parties and approved

by the court.


                                       8
      Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 9 of 82




       Funding:              The        parties         acknowledge            that

implementation         of    the       agreement       is     subject    to     the

availability and receipt of appropriated funds, but the

lack     of   funding       or    third-party         cooperation       does    not

preclude the court from entering an order to achieve

compliance.           The    Department         and    ADAP    agree    to     make

good-faith efforts to seek all necessary funding.

       Attorneys’ Fees:            Finally, the Department will pay

plaintiffs’ attorneys $ 275,000 in fees and costs for

services rendered through March 13, 2017.                            Thereafter,

the      Department          will       pay      plaintiffs’           attorneys

additional fees of $ 275 per hour for services rendered

through       final     approval,         and     $ 195        per     hour     for

monitoring services rendered by attorneys (subject to

caps).



                                 II.   DISCUSSION

       Judicial        policy          favors         the     settlement         of

class-action cases.              Bennett v. Behring Corp., 737 F.2d

982, 986 (11th Cir. 1984).                      Nevertheless, the court


                                         9
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 10 of 82




retains an important role in evaluating and approving

such settlements, pursuant to multiple provisions of

Federal Rule of Civil Procedure 23.                   First, because the

settlement contemplates the certification of a class,

the court must determine whether the requirements of

subparts (a) and (b) of the rule are met.                              Second,

subpart      (e)   imposes      both    procedural          and   substantive

requirements that must be satisfied before the court

may    approve      a   settlement          that    binds     absent     class

members.       Third,      because     the     settlement         includes    an

agreed-upon        award   of     attorneys’         fees    and    costs     to

plaintiffs’        counsel,     the    court       must     determine   their

suitability for appointment as class counsel pursuant

to subpart (g) and the reasonableness of the fee award

reasonable pursuant to subpart (h).



       A.    Class Certification: Rule 23(a) and (b)(2)

       The     court       previously              granted        provisional

certification of a settlement class defined to include

“All    persons     who    have    been,      or    will     be    during    the


                                       10
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 11 of 82




period that this Agreement remains in effect, charged

with a crime, within the meaning of Rule 1.4(b) of the

Alabama    Rules     of    Criminal          Procedure,        in    a    court   of

competent      jurisdiction        in    the      State      of     Alabama,      and

detained in an Alabama city or county jail or Alabama

Department      of   Corrections         facility         while       awaiting     a

court-ordered        Mental        Evaluation             or        court-ordered

Competency Restoration Treatment (i) For whom a Circuit

Court has determined that reasonable grounds exist for

a mental examination into the person’s competency to

stand   trial     under     Rule    11       of   the     Alabama         Rules   of

Criminal       Procedure    and     committed          the      person      to    the

custody of ADMH under Rule 11.3 of the Alabama Rules of

Criminal       Procedure    by     court       order      for       an    inpatient

evaluation, whether or not the court’s order references

any provision of law in so ordering; or (ii) Who is

found incompetent to stand trial under Rule 11 of the

Alabama Rules of Criminal Procedure and committed to

the custody of ADMH under                    Rule 11.6 of the Alabama

Rules     of    Criminal      Procedure           by      court          order    for


                                        11
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 12 of 82




Competency     Restoration        Therapy,      whether       or    not   the

court’s order references any provision of law in so

ordering.”     Preliminary Settlement Approval Order (doc.

no. 67) at 2-3.

      Having   considered         the     parties’      post-settlement

brief on this topic, the court now concludes that final

certification of this settlement class is appropriate.

      In order for any certification motion to succeed,

the   putative       class    representatives          must    show       that

“(1) the    class     is     so   numerous      that   joinder       of   all

members is impracticable; (2) there are questions of

law or fact common to the                 class; (3) the claims or

defenses of the representative parties are typical of

the   claims    or    defenses      of    the    class;       and   (4) the

representative        parties      will     fairly      and    adequately

protect the interests of the class.”                   Fed. R. Civ. P.

23(a).     In addition, a class must clear one of three

additional     hurdles;       because     the   named     plaintiffs        in

this case seek certification of a Rule 23(b)(2) class,

they must also show that “the party opposing the class


                                    12
     Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 13 of 82




has    acted      or   refused           to    act       on    grounds        that      apply

generally to the class, so that final injunctive relief

or    corresponding            declaratory               relief      is       appropriate

respecting the class as a whole.”                                 Fed. R. Civ. P.

23(b)(2).         These requirements apply with “equal force”

to uncontested certification of a class for purposes

only of settlement.                 Austin v. Hopper, 15 F. Supp. 2d

1210, 1224 (M.D. Ala. 1998) (Thompson, J.).

      Class certification also requires an examination of

two    preliminary        hurdles,              which         will      be        considered

first: standing and ascertainability.



                                    i.    Standing

      “[A]ny analysis of class certification must begin

with the issue of standing”; only once the court finds

that the named plaintiffs have standing may it consider

whether they have “representative capacity, as defined

by    Rule     23(a),         to     assert          the       rights        of     others.”

Griffin      v.     Dugger,         823       F.2d    1476,       1482        (11th     Cir.

1987).         To      show        Article         III        standing,           the   named


                                              13
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 14 of 82




plaintiffs must show that they have been injured, that

their injuries are fairly traceable to the defendant's

conduct,      and   that    a   judgment   in    their    favor      would

likely redress their injuries.                See Mulhall v. UNITE

HERE Local 355, 618 F.3d 1279, 1286 (11th Cir. 2010).

The   standing      inquiry     looks   for     the   existence      of   a

dispute at the beginning of the litigation, that is,

at the time of filing the complaint.                  See Focus on the

Family   v.    Pinellas      Suncoast   Transit       Auth.,   344    F.3d

1263, 1275 (11th Cir. 2003).

      The named pretrial-detainee plaintiffs clearly have

standing to assert the claim in the complaint and now

resolved      in    the    settlement   agreement.1        Each      is   a



     1. Although    several    named    pretrial-detainee
plaintiffs were no longer awaiting admission at the
time   of   the   amended   complaint   and   all   named
pretrial-detainee plaintiffs are no longer awaiting
admission at this time--in other words, their claim is
now arguably moot--the existence of a current dispute
is an aspect of the mootness inquiry, not standing.
Further, there is a well-recognized exception to
mootness where the class members consist of pretrial
detainees. In Gerstein v. Pugh, 420 U.S. 103, 111 n.11
(1975),   the   Supreme   Court    concluded   that   the
termination of claims by class representatives, through
(continued...)
                                   14
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 15 of 82




pretrial detainee in the custody of the Department, and

(allegedly) has been made to wait for admission to an

ADMH-facility      for      a    competency        examination          or

competency restoration treatment for periods of time

that are so substantial as to violate the Fourteenth

Amendment.    A judgment in plaintiffs’ favor would have

remedied these alleged violations, just as will this

consent decree.




the conviction of the pretrial detainees serving as
named plaintiffs, does not moot the claims of the
unnamed class members that were pretrial detainees
awaiting a probable-cause determination.       The Court
recognized that “[p]retrial detention is by nature
temporary, and it is most unlikely that any given
individual could have his constitutional claim decided
on appeal before he is either released or convicted.
The   individual  could   nonetheless   suffer   repeated
deprivations, and it is certain that other persons
similarly situated will be detained under the allegedly
unconstitutional procedures.”       Id.     Under these
circumstances, the ‘capable of repetition, yet evading
review’ exception to mootness applied: any given
pretrial detainee might not remain in custody long
enough for a district judge to certify the class and
the “constant existence” of class members suffering the
deprivation is certain.        Id.; see also Cty. Of
Riverside v. McLaughlin, 500 U.S. 44, 51-52 (1991)
(finding   claims   of   pretrial   detainees    awaiting
probable-cause determinations not moot even though
(continued...)
                                  15
     Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 16 of 82




              ii. Clearly Defined and Ascertainable

      Class certification pursuant to Rule 23 has been

construed          to   include         an        additional,      implicit

requirement that the class is “adequately defined and

clearly ascertainable.”               Little v. T-Mobile USA, Inc.,

691    F.3d    1302,     1304    (11th       Cir.    2012)).       However,

because Little reached that conclusion in the context

of a subpart (b)(3) damages class, there is “serious

reason        to    doubt       that        the     judicially        created

ascertainability requirement applies to Rule 23(b)(2)

[injunctive-relief]          classes.”            Braggs    v.   Dunn,    317

F.R.D. 634, 671 (M.D. Ala. 2016) (Thompson, J.).

      The      court     need         not     conclude       whether      the

ascertainability requirement applies here, because even

if    the     requirement       did    apply,       the    proposed      class

definition would satisfy it.                  The settlement class is

limited to persons who have been charged with a crime,



named plaintiffs’ claims had been rendered moot prior
to class certification).

                                       16
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 17 of 82




committed     to    the   custody    of     ADMH     for    an   inpatient

mental evaluation or competency restoration treatment,

and   await    evaluations        while     being       detained   in   an

Alabama      city    or    county        jail   or      ADOC     facility.

Accordingly, the class is ascertainable by reference to

the circuit court orders committing criminal detainees

to ADMH custody.          See Strawser v. Strange, 307 F.R.D.

604, 611 (S.D. Ala. 2015) (Granade, J.) (finding that

class is ascertainable where members can be identified

by reference to applications for marriage licenses).

No further inquiry is required other than the review

and application of objective criteria to these public

records; this satisfies the ascertainable requirement.



                           iii. Rule 23(a)

                           1.    Numerosity

      Rule    23(a)(1)’s        requirement        of      numerosity   is

satisfied     if    joinder--the     usual      method      of   combining

similar claims--would be impracticable.                    Although there

is no strict threshold, classes containing more than 40


                                    17
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 18 of 82




members    are     generally          large     enough     to      warrant

certification.      See, e.g., Cox v. Am. Cast Iron Pipe

Co., 784 F.2d 1546, 1553 (11th Cir. 1986); see also

William B. Rubenstein, Newberg on Class Actions § 3.12

(5th ed.).       “[P]laintiff[s] need not show the precise

number    of   members      in   the     class,”       given    that     the

numerosity     requirement       is     “less    significant”          where

“class wide discrimination has been alleged.”                     Evans v.

U.S. Pipe & Foundry Co., 696 F.2d 925, 930 (11th Cir.

1983).

    The   parties     submitted        evidence,    in    the     form    of

waiting-list      records    for       the    ADMH’s     Taylor     Hardin

Secure Medical Facility, indicating that, as of April

27, 2017, there were 32 current class members.                           See

Joint Statement Ex. A (doc. no. 77-1).                     The parties

also represented that they identified two additional

current class members, bringing the total number to 34.

See Joint Statement (doc. no. 72) at 15.

    The number of current class members is supplemented

by an additional number of future class members.                         The


                                   18
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 19 of 82




“fluid       nature    of        a     plaintiff        class--as         in     the

prison-litigation               context--counsels            in      favor        of

certification         of     all      present     and     future         members.”

Henderson v. Thomas, 289 F.R.D. 506, 510 (M.D. Ala.

2012) (Thompson, J.).

       In this case, future class members include hundreds

of people who have already been charged with a crime

and who are awaiting an outpatient mental examination.

Approximately 28 % of persons ordered to receive such

examinations will be found incompetent to stand trial

and     committed          to      the    Department’s            custody        for

competency restoration treatment.                       See Ex. E, Simpler

Dep. (doc. no. 77-6) at 93:10-21.                        In addition, some

persons      who   undergo           outpatient      examinations          can    be

expected to be ordered to undergo a more comprehensive

inpatient examination where necessary for a court to

make     a    final        determination        as      to    that        person’s

competency.            See       Ala.     R.      Crim.       P.     11.3(c)(3)

(authorizing       inpatient           examinations          if    the     initial

“examiner reports that confinement for evaluation is


                                         19
     Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 20 of 82




indispensable          to        a        clinically       valid    diagnosis          and

report”).        Future class members also include those who

will    later     be    charged             with    a     crime    and       ordered   to

undergo          an         inpatient               mental         evaluation           or

competency-restoration treatment during the pendency of

the agreement.              The future class members will easily

bring the number of total                          class members to well in

excess of 100.

       In light of the evidentiary showing that there are

at     least--and           probably             quite       substantially            more

than--100        current             class       members,     and       in    light     of

precedent making clear that it is appropriate in this

context     to    consider             future       and    as-yet-unidentifiable

class      members          in        determining          whether       joinder        is

impracticable          or    indeed          impossible,          the    court    finds

that    the    class        meets          the     numerosity       requirement         of

subpart (a)(1) of Rule 23.



                                     2.    Commonality

       Subpart        (a)(2)          of     Rule    23     requires         plaintiffs


                                              20
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 21 of 82




seeking      class    certification             to   show     that      “there     are

questions of law or fact common to the class.”                                     In

Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338 (2011),

the    Supreme     Court    explained            that    class      members       must

have “suffered the same injury. ... [T]his does not

mean merely that they have all suffered a violation of

the same provision of law.                         ...      [Rather,] [t]heir

claims must depend upon a common contention ... [which]

must    be    of     such   a    nature          that    it    is       capable    of

classwide resolution--which means that determination of

its truth or falsity will                       resolve an issue that is

central to the validity of each one of the claims in

one stroke.        What matters to class certification ... is

not    the     raising          of     common         ‘questions’--even            in

droves--but,         rather          the     capacity         of    a    classwide

proceeding to generate common answers apt to drive the

resolution of the litigation.”                        Id. at 350 (citation

and    internal       quotation            marks     omitted).           In    short,

commonality        requires      a     showing        that     there      is    “some

glue” holding the claims together.                       Id. at 352.


                                           21
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 22 of 82




    Plaintiffs seeking to demonstrate commonality under

subpart    (a)(2)     need    not    show     that     common        questions

“predominate”        over    individual     questions           as    required

under   Rule    23(b)(3);       indeed,     “even      a    single         common

question       will     do,”         provided        there           are     not

“[d]issimilarities          within    the     proposed          class”      that

“have the potential to impede the generation of common

answers.”      Wal-Mart, 564 U.S. at 359, 351 (citations

and alterations omitted).

    The named pretrial detainees have raised a single

claim   on     behalf   of     the    class:     whether         the       ADMH’s

failure to provide inpatient mental-health services to

the class in a timely manner, combined with the class

members’ detention in a jail or prison, violates their

rights under the Due Process Clause of the Fourteenth

Amendment.

    The      class    members      experience     the      constitutional

harm in somewhat divergent ways.                 Some class members

have already been found incompetent and are awaiting

inpatient      treatment      to    restore     them       to    competency;


                                     22
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 23 of 82




others     are     awaiting       an      inpatient         examination      to

determine    whether       they     are     incompetent.              Moreover,

class members are detained in various city and county

jails     spread        throughout          Alabama,        and       therefore

experience the harm--the delayed receipt of inpatient

mental-health           services--in            different             settings.

However, the commonality requirement may be satisfied

“even if some factual differences concerning treatment”

are     present.          In   re      Checking     Account           Overdraft

Litigation, 307 F.R.D. 656, 668 (S.D. Fla. 2015) (King,

J.).

       Despite    these    factual          distinctions,         a   classwide

proceeding would have “generate[d] common answers apt

to drive the resolution of the litigation,” Wal-Mart,

564 U.S. at 350 (citation and internal quotation marks

omitted);        principally,        the      proceeding          would    have

answered     the        factual      questions         of     whether      the

Department        has     failed       to      provide        court-ordered

inpatient mental-health services to detainees committed

to its custody for that purpose in a constitutionally


                                       23
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 24 of 82




permissible       period       of     time;    and,    if    so,     it    would

resolve the sole legal question, namely whether that

failure    violates       class       members’      due-process         rights.

Plaintiffs    not       only    alleged       in   their     complaint      that

this    failure    violated          the     Due   Process       Clause;    they

presented evidence to show as much in support of their

motion for a preliminary injunction.                        While the court

would of course have had to weigh this evidence against

any    contrary     evidence          presented       by    defendant      ADMH

Commissioner       had     this       case     proceeded      to    a     merits

adjudication, plaintiffs “affirmatively demonstrate[d]

[their] compliance with [] Rule” 23(a)(2).                          Wal-Mart,

564 U.S. at 350.

       The commonality requirement is satisfied.



                               3.     Typicality

       Although the commonality and typicality inquiries

“tend to merge,” the typicality requirement--which is

“somewhat    of     a    low        hurdle”--focuses        on     “whether    a

sufficient nexus exists between the claims of the named


                                        24
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 25 of 82




representatives and those of the class at large.”                              Gen.

Tel.    Co.    of     Sw.    v.     Falcon,       457    U.S.   147,    157   n.13

(1982).       A class representative’s claims are typical if

they “arise from the same event or pattern or practice

and are based on the same legal theory” as the class

claims; they need not be identical.                        Williams v. Mohawk

Indus.,       Inc.,    568        F.3d    1350,    1357    (11th      Cir.    2009)

(citation omitted).

       This    court        has    previously       found       the    typicality

requirement         satisfied            where    “the     named      plaintiffs’

legal claim ... is identical to the class’s claim.”

Henderson, 289 F.R.D. at 511.                           Here, too, the named

detainee plaintiffs brought the same due-process claim

as the class based upon the Department’s failure to

provide timely inpatient mental-health services.                                The

claim of both the named plaintiffs and the class are

also based on the same legal theory: that the delays in

the     provision           of      services        provides          unjustified

punishment in violation of the Due Process Clause.                              See

Disability       Law    Ctr.        v.    Utah,    No.     2:15-cv-00645-RJS,


                                           25
     Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 26 of 82




2016 WL 5396681 at *17-18 (D. Utah. Sept. 27, 2016)

(Shelby,      J.)       (concluding       that     typicality           requirement

was met where the claim of named plaintiffs and class

rested       on    same       theory,      “that       the     substantive         due

process       right       of        incompetent        defendants             requires

injunctive              relief            against            the          allegedly

unconstitutional delays”).

       Moreover,        the    distinctions           within      the    class     are

mirrored by the named plaintiffs:                          the class consists

of    both    (1)       persons       already      found       incompetent         and

awaiting treatment, and seven named plaintiffs are in

that      circumstance,             and    (2)        persons        awaiting       an

inpatient          competency         examination,            and       one      named

plaintiff is in that circumstance.

       The        court        is     satisfied            that         the     named

pretrial-detainee             plaintiffs,        as    a     group,      adequately

represent         the     particular           interests        of       all     class

members.




                                          26
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 27 of 82




                             4.       Adequacy

    Rule 23(a)(4) requires the court to find that the

“representative       parties         will     fairly      and    adequately

protect the interests of the class.”                          This analysis

“encompasses    two     separate        inquiries:        (1) whether      any

substantial    conflicts         of     interest      exist      between   the

representatives       and    the      class;        and   (2) whether      the

representatives will adequately prosecute the action.”

Valley Drug Co. v. Geneva Pharm., Inc., 350 F.3d 1181,

1189 (11th Cir. 2003) (citation omitted).

    “Adequate representation is usually presumed in the

absence of contrary evidence,” and generally exists for

injunctive-relief classes, because there is no monetary

pie to be sliced up.              Access Now, Inc. v. Ambulatory

Surgery Ctr. Grp., Ltd., 197 F.R.D. 522, 528 (S.D. Fla.

2000) (Seitz, J.).          Here, although some members of the

class are awaiting inpatient admission for different

services      (either        a        competency          examination       or

treatment), the representatives include members of both

groups.     Further,        in    the       usual    circumstance,      class


                                       27
     Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 28 of 82




members     will     be     provided       admission       according       to   the

date of receipt of the court order requiring ADMH to

provide the services.                 Accordingly, there is no reason

to    think    that       providing       inpatient        admission       to   one

member of the class would harm another member of the

class       (apart        from      the        obvious      and     unavoidable

consequence        that       one       class       member        was     provided

admission earlier than another).

      The     settlement         authorizes         the    ADMH     to    provide

services outside the standard waiting list in several

circumstances:         it    can       engage      in     ‘line    jumping’      by

providing services for a particular individual earlier

than dictated by the waiting list, and it can also

‘skip’       persons        because          of    a      “demonstrable         and

compelling      obstacle         to    the     provision     of    the     ordered

evaluation      or    treatment           at    that    time.”          Settlement

Agreement       (doc.       no.       60-1)       §§ VI.D.iii       &    VI.E.iv.

However, these exceptions do not stand to benefit any

particular subset of class members to the detriment of

any other.         Nor is there evidence that the exceptions


                                          28
     Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 29 of 82




will inure to the benefit of the class representatives

over other class members.

      The court concludes that there are no substantial

conflicts of interest between the representatives and

the class.

      Turning now to the second aspect of subpart (a)(4)

of     Rule     23:     “The     vigor     with     which     []     named

representative[s] and [their] counsel will pursue the

class claims is assessed by considering the competency

of counsel and the rationale for not pursuing further

litigation.”        Ass’n for Disabled Ams., Inc., 211 F.R.D.

457, 464 (S.D. Fla. 2002) (Gold, J.) (citing Griffin v.

Carlin, 755 F.2d 1516, 1533 (11th Cir. 1985)).                         The

competency of counsel for plaintiffs in this case is

reflected in their involvement in a large number of

successful class actions vindicating the constitutional

or federal statutory rights of classes of persons with

mental        illness     and/or      intellectual        disabilities,

including       counsel     that     specialize      in     representing




                                     29
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 30 of 82




inmates    housed    in    Alabama         county   jails.        See     Joint

Statement (doc. no. 72) at 28-30.

    Class counsel’s rationale for not pursuing further

litigation is equally plain from the fact that, after

extensive    negotiation        and    after       filing    a   motion     for

preliminary       injunction,         they     reached       a    settlement

highly favorable to all members of the class.                         In this

circumstance, “continued litigation would only serve to

delay class relief ....”              Ass’n for Disabled Ams., 211

F.R.D. at 464.

    Rule 23(a)(4) is satisfied.



                          iv.   Rule 23(b)(2)

    A class satisfies Rule 23(b)(2) where “the party

opposing    the    class    has   acted       or    refused      to   act   on

grounds    generally       applicable         to    the     class,    thereby

making      appropriate         final        injunctive          relief     or

corresponding declaratory relief with respect to the

class as a whole.”         Fed. R. Civ. P. 23(b)(2).




                                      30
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 31 of 82




    As plaintiffs have repeatedly explained (and indeed

offered some evidence to demonstrate) throughout the

litigation of this case, the problems of which they

complain reflect a systemic failure; the Department’s

practice    of     failing      to    provide      timely      inpatient

admissions to criminal defendants in Alabama awaiting

court-ordered      competency        examinations       and   competency

treatment affects all members of the class.                   Moreover,

the plaintiffs seek a transformation of that system,

such as through increased bed capacity to enable more

prompt admissions.

    Class certification pursuant to subpart (b)(2) is

appropriate.



            B.    Settlement Approval: Rule 23(e)

    Before approving a settlement agreement in a class

action,    “a    court    has   a    heavy,    independent      duty    to

ensure    that    the    settlement       is   ‘fair,    adequate,     and

reasonable.’”      Laube v. Campbell, 333 F. Supp. 2d 1234,

1238 (M.D. Ala. 2004) (Thompson, J.) (quoting Fed. R.


                                     31
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 32 of 82




Civ. P. 23(e)(2), additional citation omitted).                     This

careful   inspection       is   “essential    to    ensure      adequate

representation        of    class      members      who     have     not

participated in shaping the settlement.”                  Fed. R. Civ.

P. 23(e) advisory committee note.                  In the course of

this review, the court must determine whether notice to

the class was adequate, and must consider the comments

made and objections raised by class members (as well

as, as in this case where the members may be mentally

incompetent,       their        representatives           and     others

interested in their well-being), and the opinions of

class counsel.     See Laube, 333 F. Supp. 2d at 1238.



                 i.    Notice to Class Members

    “The court must ensure that all class members are

informed of the agreement[] and have the opportunity to

voice their objections.”            Laube, 333 F. Supp. 2d at

1240; see also Fed. R. Civ. P. 23(e)(1).

    The   court’s      order     preliminarily        approving      the

settlement agreement contained specific procedures for


                                  32
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 33 of 82




the parties to give notice of the settlement to the

members    of    the    provisionally      certified     class.         The

court also approved four separate notice and comment

forms: (1) notice to class members; (2) notice to class

members’   defense       counsel,    family     members,    and    legal

guardians; (3) notice for publication in Alabama trial

courts;    and    (4)     a   letter     to    trial    court     clerks

explaining the notice for publication.                 Substantively,

the two-page notice form included a description of the

case, a definition of the class, a list of the primary

provisions       of    the    settlement       agreement,       and      an

indication that the agreement would release the ADMH

Commissioner from any further liability for the claim.

Additionally, the notice included contact information

for class counsel along with an invitation for those

receiving notice to inquire about the settlement, an

announcement of the fairness hearing, and instructions

for those receiving notice to comment on or object to

the   settlement.         The   comment       form    requested    basic

contact    information,         included      ample     space     for     a


                                    33
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 34 of 82




description of the objection or comment, and allowed

the commenter to indicate whether he or she wished to

provide oral testimony.            The notice and comment form

was sent, along with a copy of the proposed settlement

and a self-addressed, stamped envelope, to all putative

class members on the waiting list for admission to the

Taylor Hardin Secure Medical Facility as of April 27,

2017.

      Because     of     the     mental       state     of     the   class

members--having        either    been     declared      incompetent     or

suspected    of   being      incompetent--the          court   requested,

and   the   parties      proposed,       a    notice    procedure     that

extended    beyond     the     class members        themselves.       “[A]

court should be even more circumspect about accepting a

settlement where ... members of the plaintiff class are

not themselves capable of assessing the settlement and

voicing their views on whether it is fair, reasonable

and   adequate,    and    the    court       must   therefore    rely   on

comments from such secondary sources as public interest

groups and organizations.”           Dunn v. Dunn, 197 F. Supp.


                                   34
     Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 35 of 82




3d     1331,      1333     (M.D.          Ala.     2016)     (Thompson,      J.)

(quotation marks and citation omitted).                           Accordingly,

the    parties     also       sent    a    similar       notice    and   comment

form, along with the proposed settlement, to counsel of

record in the criminal case for each putative class

member,     again      based     on       the    April    27,   2017,    waiting

list.       The    notice       expressly         requested       that   defense

counsel share the notice, settlement, and comment form

with family members and known legal guardians of the

class members and encourage them to submit objections

or comments.

      In addition, the parties mailed a three-page notice

to the clerk of court for the trial court in each of

Alabama’s         67     counties,          together       with      a   letter

requesting that the clerk post the notice in a central

location within the courthouse.                     The notice encouraged

defense counsel, family members, and legal guardians of

class      members       to     submit          objections      or   comments.

Because of the importance in this case of ensuring that

other interested parties beyond the class members were


                                           35
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 36 of 82




aware of the settlement, the court required the parties

to conduct spot checks to ensure the notice had been

posted,    and   ideally    in    a    central    location     in   the

courthouse.      When preliminary results identified a low

rate of compliance with the request to post the notice,

the parties voluntarily added the additional step of

electronically disseminating the notice via the Alabama

Criminal Defense Lawyers Association e-mail listserv.

By June 2017, the parties confirmed, either by physical

observation or by representation of the county clerk,

that the notice had been posted in at least 40 county

courthouses,     and   an    additional      nine    county     clerks

agreed to post the notice after speaking with counsel.

See Joint Status Report (doc. no. 68) ¶¶ 3, 5, 7 &

Status of Notice Posting, Ex. A (doc. no. 68-1).                        In

addition, the parties provided notice by publication

twice in each of five newspapers across the State of

Alabama.

    The notice and comment form and the agreement was

mailed    to   class   members    and    their    criminal     defense


                                  36
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 37 of 82




counsel      on     May    22,      2017,       and       class       members,    their

representatives,              and    other           interested         persons       and

groups       were       given    until      June          26,    2017,    to     submit

comments.         Comments received by mail by June 30, 2017,

were    still       docketed.          Seven          written         responses       were

received: five from putative class members and two from

criminal      defense          counsel      of       putative         class    members.

See    Comments         and     Objections           to     Proposed      Settlement

(doc. no. 69-1).              In addition, the parties received two

calls from families of potential class members.                                       See

Joint Statement (doc. no. 72) at 26.

       The    court       concludes        that       the       extensive      measures

undertaken        by     the     parties        to    provide         notice     of   the

agreement         and     invite     the    feedback             of    current    class

members       and       others      were    sufficient            to    satisfy       the

notice requirement of subpart (e) of Rule 23 of the

Federal Rules of Civil Procedure.




                                           37
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 38 of 82




                  ii.     Objections and Comments

    The     seven      written       responses    raised         a    number       of

issues, some of which were relevant but many of which

were not.       The comment portion of one response form was

entirely     blank.           Others        offered    examples          of    the

extensive delays that plaintiffs allege violate their

constitutional          rights,        but      did     not          offer     any

substantive      feedback      on     the    settlement.             A   detainee

awaiting        inpatient        admission        for        a       competency

examination indicated that he did not understand the

notice    and    requested       a    lawyer;    his    criminal          defense

counsel later submitted a letter indicating that he had

explained the proposed settlement to his client, who

subsequently withdrew the objection.                         One respondent

stated    that    he    had    been     waiting       nine    months         for   a

second evaluation concerning his mental state at the

time of the offense.           He inquired if his constitutional

rights had been infringed by this extensive delay and

noted that he had attempted suicide while detained in a

county jail.


                                       38
     Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 39 of 82




       Only       one     written       response      raised       a    pertinent

objection to the settlement.                     The objection was filed

by    criminal          defense    counsel       Michael      D.    Haynes,        who

represents a putative class member found incompetent in

November         2016     based    on    an    initial      examination         that

diagnosed         the     putative      member       with    psychosis          as    a

consequence         of     schizophrenia.             Haynes’s         client      was

ordered to receive competency restoration treatment and

committed to ADMH’s custody in January 2017, but as of

June     2017       was     still       awaiting          admission      so     that

treatment could begin.                   The objection indicated that

the    putative          class    member      has    lost     over      30    pounds

during his incarceration; moreover, in the months after

he    was     found      incompetent       but      awaiting       treatment         to

begin,      he    became     violent,         hit    his    head     against       the

wall,       ate     his     own     feces,          and    refused       to     take

medication.         See Haynes Objection (doc. no. 69-1) at 5.

Haynes objected to the settlement’s failure to provide

any immediate relief for clients such as his: “While

the    proposed          settlement      may     address      concerns        in     24


                                         39
     Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 40 of 82




months, it does nothing to address the injustices that

are occurring right now not only for my client, but for

others who need immediate attention.”                       Id.

      Subsequent to the objection, Haynes’s client was

transferred          to     Taylor       Hardin    and     began     to   receive

competency restoration treatment.                        Accordingly, as to

that putative class member, the agreement’s phased-in

provisions--which do not require the Department to meet

certain deadlines for admission until 12 and 24 months

after final approval--do not pose an ongoing problem.

Nonetheless, Haynes’s objection required the court to

focus     on    the       issue     of    immediate        relief    under      the

agreement for individuals committed to ADMH’s custody

but not yet transferred to one of its facilities, some

of    whom     may    have     a    serious       mental    illness       but   are

detained       in    a    jail     with    little    to     no    mental-health

treatment.            The    court        will    address     that    issue      in

greater depth in a subsequent section of this opinion.

      The court has carefully considered the comments and

objections           filed         by     class      members        and     their


                                          40
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 41 of 82




representatives.              Although       they       reflect          existing

problems with delays in providing inpatient competency

examinations      and    treatment,         none    calls         into   serious

question    the   fairness       or   adequacy          of    the    settlement

agreement.



                   iii.       View of the Parties

      The parties contend that the settlement agreement

is “fair, reasonable, and adequate.”                         Fed. R. Civ. P.

23(e)(2).     They contend that the settlement avoids the

necessity of complex and time-consuming litigation over

plaintiffs’              claim               while                  plaintiffs’

conditions--incarceration             in    a    city        or   county    jail

without     adequate         mental    health       treatment--requires

time-sensitive relief.            Further litigation to resolve

the   claim   would      require      the       resolution         of    numerous

disputed factual issues and extended expert discovery

and   briefing.         By    agreeing      to    the    settlement,         they

avoided not only a trial, but also the possibility of

appellate review, all while class members continued to


                                      41
     Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 42 of 82




languish      in     jails      before     receiving         examinations         or

treatment.         In     light    of    the     circumstances         of       class

members, the parties contend that delayed relief would

be detrimental to the class members.                        The parties also

contend that that delay would be unwarranted in light

of    the    plaintiffs’          probability          of    success       on     the

merits, as demonstrated in their preliminary injunction

brief.

      The     parties         acknowledge        that       they     reached       a

settlement         at     a     relatively        early       stage        of     the

litigation--approximately six months after the initial

complaint      and      three     months       after    the       filing    of    an

amended       complaint           and         motion        for     preliminary

injunction--but           nonetheless           engaged       in      extensive,

substantive discovery before concluding the agreement.

The parties served five requests for production, eight

third-party             subpoenas         for          records,        produced

approximately           3,500   pages     of     documents,        served       more

than 300 interrogatories, and conducted one deposition.

See Joint Statement (doc. no. 72) at 32.                           In addition,


                                         42
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 43 of 82




the settlement agreement was not reached abruptly: the

parties      appeared      before     the         magistrate    judge      on     ten

separate      occasions           over        a     two-month       period        for

“vigorous, adversarial, court-supervised negotiations.”

Id. at 33.           The parties represent that, during the

negotiations, each side made “difficult concessions,”

but    did     so     while       being           represented      by     vigorous

advocates.         Id.     Plaintiffs were represented by three

separate      legal       organizations             (ADAP,    the       ACLU,    and

outside counsel), and defendant ADMH Commissioner was

represented by counsel from the Department as well as

outside counsel.           Id. at 34.

      Finally, the parties argue that the systemic relief

provided      in    the    settlement         is     commensurate        with     the

recovery      that        would     be        available       to     the        named

plaintiffs and class members if successful at trial.

The   plaintiffs          initially      sought        both    injunctive        and

declaratory relief; although the settlement does not

provide for declaratory relief, the parties argue that

the    settlement           provides          the      equivalent         of     the


                                         43
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 44 of 82




injunctive    relief       that     the      plaintiffs      could     have

received in the event of a favorable judgment.



                     iv.    Court’s Assessment

      The court must also assess for itself, based on the

evidence and argument presented by the parties and by

class members who submitted comments and objections,

whether    the      settlement          is    fair,    adequate,       and

reasonable.      “Relevant factors include the stage in the

proceedings; the plaintiffs’ likelihood of success at

trial; the complexity, expense, and likely duration of

the   lawsuit;      and    the    range      of   possible       recovery.”

Laube, 333 F. Supp. 2d at 1246.

      As to the substantive provisions of the agreement,

the court finds that they represent a favorable result

for the plaintiff class.             The plaintiffs in this case

challenged    the     ADMH’s        failure       to   provide       timely

admissions    for    state       criminal     defendants     subject    to

competency    examinations         or     treatment    at    a    systemic

level.    They argued that the Department’s practice was


                                    44
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 45 of 82




a blatant constitutional violation because it subjected

pretrial detainees to punishment in violation of the

due process clause under Bell v. Wolfish, 441 U.S. 520

(1979),       and    they    cited    several      courts   across      the

country      that    have    found   similar       practices    infringed

pretrial detainees’ due-process rights.

       The    settlement      agreement       essentially      gives   the

class    all    of    the    remedies      plaintiffs   sought    at   the

outset of this litigation.                Notably, even if plaintiffs

had proceeded to and prevailed at trial on their claim,

the parties would have still been confronted with the

task of fashioning a remedial plan.                     Any such plan

would likely have closely resembled that contained in

the settlement agreement currently before the court.

Moreover, because such systemic changes are involved

(for    example,       the    creation       and    operation    of     new

facility space and the hiring of new staff), it would

not    have    been    feasible      to    order   significantly       more

rapid compliance than is contemplated in the settlement




                                     45
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 46 of 82




agreement.     If anything, settlement means that change

will come more quickly.

    During     and       shortly   following      the     preliminary

approval hearing and again at the fairness hearing, the

court expressed significant concerns regarding several

particular provisions of the settlement agreement, as

well as concerns about the impact of the settlement on

particular    populations.         However,     after   considerable

discussion    and    briefing,     the    parties     have    resolved

these   issues      to   the    satisfaction     of   the    court      by

entering into binding stipulations.



                         1.    Immediate Relief

    Defense counsel Michael D. Haynes, who represents a

putative class member, submitted a pertinent objection

regarding    immediate        relief    under   the   agreement      for

individuals such as his client who are committed to

ADMH’s custody but not yet transferred to one of its

facilities.      Some    of    these    individuals     suffer     from

serious mental illness and are unable to receive mental


                                   46
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 47 of 82




health     treatment       at   these         facilities.       Haynes’s

objection raises two distinct but related issues: (1)

what immediate relief is available under the settlement

agreement    for     individuals         in    emergency       need     of

treatment;   and     (2)   whether     such    relief    is    available

prior to the 12- and 24-month phase-in provisions of

the agreement.

    The court raised these issues with the parties at

the fairness hearing on August 3, 2017, including the

ancillary problem of identifying prisoners in need of

emergency     treatment.           The        parties    subsequently

conferred     and      submitted         a      second        stipulated

modification of the agreement addressing this issue.

See Second Stipulation (doc. no. 89).

    The stipulation provides that the ADMH Commissioner

shall annually designate an ADMH official “to receive

notice from current and future class members’ criminal

defense    counsel    and/or    Alabama       circuit    court   judges

that a class member needs emergency treatment.”                   Id. ¶

1(b).     Upon receipt of such notice, the ADMH Designee


                                  47
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 48 of 82




will communicate that notice to ADAP within 48 hours

and   will      determine     if     that   individual       is     a    class

member.      If the individual is a class member, the ADMH

Designee will arrange for a clinical professional to

visit     the    class       member    to    conduct        an    in-person

assessment      within      four   days     of   the    ADMH     Designee’s

receipt of notice regarding the class member.                           If the

clinical professional determines the class member needs

emergency treatment, the ADMH Designee will communicate

this determination to ADAP, and the ADMH Commissioner

shall   arrange       for    early     admission       (a   ‘line       jump’)

within seven calendar days of the in-person assessment.

      The stipulation further provides that the parties

will work with officials of the Alabama State Bar to

annually disseminate notice to members of the Alabama

State Bar about this process and identifying the ADMH

Designee,       and   will    also    independently         provide       such

notice annually to trial judges in each Alabama county.

Id. ¶ 1(a).           Finally, the stipulation establishes a

protocol for responding to class members who may be


                                      48
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 49 of 82




suicidal,          which    requires       the   ADMH        Designee   to

communicate notice of such individuals to ADAP within

24 hours, and, if the individual is a class member, to

notify the sheriff of the county and officials of the

jail     or    ADOC        facility    where     the    individual      is

incarcerated.         Id. ¶ 1(c).

       The court is satisfied that the above protocols for

immediate identification and treatment of individuals

in urgent need of care, which are to take effect upon

settlement approval and are not subject to the phase-in

requirements        elsewhere    in    the   settlement,       adequately

address Haynes’s objection and the court’s concerns on

this issue.



                                 2. Funding

       In Section XII of the agreement, titled “Funding,”

the    parties      expressly    acknowledge      the    importance     of

funding       to    the     implementation       of    the    settlement,

including funding dependent on the Alabama Legislature,

which is not a party to this lawsuit.                    In particular,


                                      49
     Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 50 of 82




the parties agreed “that implementation of the terms of

this Agreement and any plan necessary to effectuate its

terms are subject to the availability and receipt of

appropriated funds.”               Settlement Agreement (doc. no.

60-1) § XII.1.           The parties also acknowledged “that

additional funding and the cooperation of third parties

is     necessary       to     the      ADMH      Commissioner’s        full

performance       in    accordance        with      the   terms   of   this

Agreement,” but then provided that the lack of funding

does not prevent the court from entering a subsequent

order to achieve compliance.                  Id.     Sec. XII.2.      The

parties are to make “all possible good faith efforts to

seek all necessary funding,” but can approach the court

for     assistance       if     they      disagree        about    whether

sufficient       funding      is    available        to   implement     the

agreement.       Id. Sec. XII.3.

      Almost immediately, these provisions garnered the

court’s     concern.        Having     approved       countless    consent

decrees, the court is not accustomed to these types of




                                     50
     Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 51 of 82




provisions.2       More fundamentally, the rights guaranteed

under the United States Constitution, as enforced by

the orders of the federal courts, are not subject to

the whims of a state body.                See Cooper v. Aaron, 358

U.S. 1, 18 (1958) (“If the legislatures of the several

states may, at will, annul the judgments of the courts

of the United States, and destroy the rights acquired

under those judgments, the constitution itself becomes

a solemn mockery.” (quoting United States v. Peters, 5

Cranch 115, 136 (1809) (Marshall, C.J.))).                     As applied

in    Cooper,     that    principle       meant   that    an    allegedly



    2.   Nor are such provisions included in factually
analogous consent decrees in cases cited by the
parties.     For example, another recent settlement
concerning delays in competency restoration treatment
recognized   that   the    defendants’  performance   was
dependent on circumstances beyond their control, but
expressly excluded funding from the legislature as such
a circumstance.     See Proposed Settlement Agreement
¶ 23(b),    Disability    Law    Ctr.  v.    Utah,    No.
2:15-cv-00645-RJS (D. Utah June 12, 2017) (doc. no.
85-1) (“The failure or refusal of the Utah Legislature
to adequately fund Defendants’ operations, programs, or
the Plan shall not be considered a Departmental Special
Circumstance    for    purposes    of  this    Settlement
Agreement.”).



                                     51
     Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 52 of 82




“serious       financial       burden”         placed   on    the     school

district        by      desegregation           could       not     preclude

enforcement of a constitutionally-required decree.                       Id.

at    13.       Thus,     were      the       settlement     to    condition

implementation          on     the        availability        of     funding

authorized by the state legislature, it would provide

substantially less relief to the plaintiffs than they

would     be   eligible       to    obtain     had   they    succeeded     at

proving a due-process violation at trial.

      Similarly, it is well-established that inadequate

funding does not preclude a court from holding state

officers liable for constitutional violations.3 Braggs

v. Dunn, 257 F. Supp. 3d 1171, 1266-67 (M.D. Ala. 2017)

(Thompson, J.).          In Edelman v. Jordan, 415 U.S. 651,

668 (1974), the Supreme Court noted that the Eleventh

Amendment       did     not        bar    suits      that    had     “fiscal




    3.   No issue concerning the doctrine of Ex parte
Young, 209 U.S. 123 (1908), has been raised in the
course of approving this settlement.      But as the
defendant is a state official, the availability of
relief on the merits, were this case to proceed to
(continued...)
                                         52
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 53 of 82




consequences         to    state     treasuries”         that        “were     the

necessary result of compliance with decrees which by

their terms were prospective in nature.”                        The Court in

Edelman also observed that having to spend more money

from    the    state      treasury   because       the    State       needs     to

conform its conduct to the court order is an “ancillary

effect” that is “a permissible and often an inevitable

consequence         of    the   principle    announced         in     Ex     parte

Young[, 209 U.S. 123 (1908)].”                  Id. at 668.            In fact,

rather     than      precluding       relief,      courts           have     found

inadequate          funding     to    be    a      basis       for         finding

constitutional           violations.        See,     e.g.,          Wellman    v.

Faulkner, 715 F.2d 269, 273 (7th Cir. 1983) (noting

that     “woefully         inadequate”      salary       for        psychiatric

personnel contributes to Eighth Amendment finding).

       Having raised these concerns with the parties, they

modified      the    settlement      with   a   stipulation           that     the

funding       provisions        “serve     neither       as     a     condition



trial, would depend on the availability of prospective
relief against her pursuant to the doctrine.

                                      53
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 54 of 82




precedent to performance nor a basis for excusing the

Parties’ performance obligations under the Settlement

Agreement.”         Stipulation       (doc.      no.    84)    ¶    3.     The

provisions instead merely reflect an acknowledgment of

the   “practical       reality”       of    the    annual      legislative

appropriation process.              Id.     With that understanding,

the settlement, as modified by stipulation, resolves

the court’s concern.



                               3.    Remedies

      In   preparation    of        the    settlement      agreement       for

approval,     the     court    asked       the    parties      to     address

whether     the     remedial    provisions         of    the       settlement

agreement    are     consistent       with       the    court’s     remedial

authority under Federal Rule of Civil Procedure 60(b),

Rufo v. Inmates of Suffolk County Jail, 502 U.S. 367

(1982), and relevant Eleventh Circuit law, including

whether     the      relief     available         in     the       event    of

noncompliance is limited to contempt proceedings, see

Reynolds v. McInnes, 338 F.3d 1201, 1208 (11th Cir.


                                     54
    Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 55 of 82




2003).     The parties responded to the court’s concern in

a   joint     statement,        concluding      that     the     remedial

provisions of the agreement as written are consistent

with prevailing law.          See Joint Statement in Support of

Proposed Settlement (doc. no. 72).

     Federal     Rule    of     Civil    Procedure     60(b)   and   Rufo

place certain limits on the ability of courts to modify

and grant relief from existing judgments. Rule 60(b)

empowers courts to grant parties relief from a final

judgment or order on the basis of enumerated grounds

including but not limited to mistake, newly discovered

evidence,      the     judgment     having      been     satisfied        or

discharged,      and     “any     other     reason     that    justifies

relief.” Fed. R. Civ. P. Rule 60(b).                   Under Rufo, “a

party seeking modification of a consent decree bears

the burden of establishing that a significant change in

circumstances           warrants          revision,”       and       that

“[o]rdinarily ... modification should not be granted

where a party relies upon events that actually were




                                    55
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 56 of 82




anticipated at the time it entered into a decree.” 502

U.S. at 383-84.

       Apart    from    issues   of    modification,    the     Eleventh

Circuit has held that consent decrees must be enforced

through the trial court’s contempt power, as properly

invoked       through   contempt      proceedings.      McInnes,       338

F.3d    at     1208.     However,      where   all   parties    seek    to

enforce a consent decree using a procedure other than

contempt       proceedings,      the       contemporaneous     objection

rule bars the parties from later objecting to a ruling

on the basis that contempt proceedings were not used.

Id. at 1209-12.

       Here    there    are   four     remedial   provisions     of    the

settlement that raise potential concerns.                    First, the

agreement provides for a “dispute resolution process”

under which the parties must meet and confer in good

faith to resolve issues that plaintiffs raise as to

ADMH’s compliance. Settlement Agreement (doc. no. 60-1)

§ VIII. “In the event that the Parties are unable to

resolve any issue(s) after attempting to do so in good


                                      56
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 57 of 82




faith,     they        shall        submit      their        dispute      to     the

magistrate       judge        assigned         to    the    case    or    to     the

district       court     in    the    event         no   magistrate      judge    is

assigned.        Both parties shall have the right to appeal

any magistrate judge’s decision to the district court

for review.”       Id.

      Second, the agreement provides that, “If Plaintiffs

believe    that        the    ADMH    Commissioner          has    not   achieved

Substantial Compliance with the timelines ... specified

in Section VI.1.E. above for at least nine consecutive

(9) months preceding the end date of the Agreement,

Plaintiffs shall file a motion to extend jurisdiction

and monitoring with the Court....”                           Id. § X.2.          The

court     is     then    to     determine           “after    an    evidentiary

hearing”       whether        the    ADMH      Commissioner        has   achieved

substantial compliance, as defined in the agreement.

Id.

      Third, the agreement provides that, “Three months

prior to the end of the term of the Agreement, if the

Parties        agree    that        the     ADMH     Commissioner        has     not


                                          57
     Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 58 of 82




achieved Substantial compliance, the Parties may agree

in writing to extend the term of the Agreement for a

specified period, and by joint motion, seek the Court’s

approval      of    their    agreed-upon      extension      without       an

evidentiary        hearing     to    determine      compliance.”       Id.

§ X.3.

      Fourth, the agreement provides that, “If the term

of    Agreement     is    extended    pursuant     to   Subsection     X.2

above, Plaintiffs may seek additional extensions of the

term of this Agreement by demonstrating that the ADMH

Commissioner cannot demonstrate Substantial Compliance

with the timelines ... specified in Section VI.1 for at

least      nine     (9)     consecutive      months     preceding      any

scheduled expiration or termination of the Agreement.”

Id. § X.4.

      The parties contend, and the court agrees, that

none of the agreement’s remedial provisions implicates

the court’s remedial authority under either Rule 60(b)

or Rufo, since they do not entail modifications of the

agreement.         See Joint Statement In Support of Proposed


                                     58
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 59 of 82




Settlement    (doc.       no.    72)    at     35-36.          Rather,        these

sections    involve       the     monitoring        and    enforcement           of

existing     obligations,          as       well    as     potential           time

extensions of the agreement.                  Notably, Section X.1 of

the agreement states, “The Parties agree that the term

of this Agreement shall be three (3) years from the

date of Final Approval by the Court, subject to the

provisions below.”             Settlement Agreement (doc. no. 60-

1) § X.1 (emphasis added).                   As this language clearly

indicates--and       indeed       as    may    have       been    clear        even

without this express language--any extensions of the

agreement     ordered          pursuant       to    the     terms       of      the

agreement    are     not       “modifications,”           but     rather        the

operation    of    the    agreement         pursuant      to     its    existing

terms.      Therefore none of the agreement’s provisions

implicate either Rule 60(b) or Rufo.

    With regard to McInnes, The parties submit that the

first     remedial       provision,         Section       VIII,        does     not

implicate    the     court’s       enforcement         power      because        it

“simply    impose[s]       a    process       for   resolving          conflicts


                                       59
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 60 of 82




that is designed to be efficient and cost-effective.”

Joint Statement In Support of Proposed Settlement (doc.

no. 72) at 35.              The court           understands the parties’

desire for a conflict-resolution mechanism that is more

efficient and cost-effective than returning to litigate

before a district court, but is not as certain that the

issues addressed in McInnes are not implicated by the

agreement.       This issue is therefore left open, with a

caution to the parties that any ultimate invocation of

this court’s enforcement power under the agreement may

need     to    be        made,     as     the     Eleventh       Circuit    has

instructed,         through         the         mechanism    of      contempt

proceedings.



                    4.     Impact on Non-Class Members

       The agreement has provisions affecting two groups

of people who are not class members:                     persons found not

guilty    by    reason      of     insanity      and   awaiting     inpatient

treatment      by    ADMH        (“NGRIs”)      and    persons    ordered     to

receive       outpatient         mental      examinations.         The     court


                                        60
     Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 61 of 82




raised the concern that notice of the agreement was not

provided      to    these      groups,    who,   although     not    class

members, are impacted by it.              The court also raised the

concern that ADAP, as both class counsel and counsel

for members of these groups, could have a conflict.

Based upon the representations made during the fairness

hearing and the provisions in the settlement designed

to    guard     against        unfavorable    treatment,      the    court

concludes that the settlement does not prejudice these

two groups of non-parties.

      NGRIs:       The     settlement     generally      requires      the

Department not to skip the admission of NGRIs in favor

of pretrial detainees awaiting a competency examination

or treatment.        See Settlement Agreement (doc. no. 60-1)

§ VI.1.D.ii.             The   settlement    acknowledges,       however,

that in “exceptional circumstances” the Department may

need to skip the admission of an NGRI who is next in

line to receive services in favor of a person ordered

to receive a competency examination or treatment.                      Id.

At the fairness hearing, class counsel suggested that


                                     61
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 62 of 82




legitimate justifications for a ‘skip’ could include a

medical issue or a delay in transferring the person

into an ADMH facility.

       The settlement guards against illegitimate ‘skips,’

which could theoretically have the effect of increasing

ADMH’s rate of compliance under the agreement to the

detriment of NGRIs, in two ways.                First, the settlement

requires       ADMH    to   begin    to     provide   services    to    the

‘skipped’ NGRI within 60 days; if that deadline is not

met,     the    skipped       NGRI    will     be     included   in      the

calculation       of    the   average       monthly   compliance       rate,

unless     ADMH       provides      “good    grounds”     for    why     the

individual should not be included.                    Id.; § VI.1.E.iv.

(Ordinarily, because NGRIs are not class members, their

wait time is not included in the Department’s average

monthly compliance rate.)              Plaintiffs’ counsel may use

the    dispute        resolution     process    in    Section    VIII     to

challenge the existence of ‘good grounds’ for excluding

an NGRI who has been skipped for more than 60 days from

ADMH’s compliance rate. Second, the settlement requires


                                      62
     Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 63 of 82




ADMH to provide notice to class counsel within ten days

of a ‘skip,’ which must include a written explanation

of    the    justification        for   that    particular        NGRI   not

receiving services based on chronological order.                         Id.;

§ VI.1.E.iv.            Plaintiffs’        counsel      may       use    the

dispute-resolution process in Section VIII to challenge

the exclusion of a skipped NGRI from ADMH’s compliance

rate, even prior to the end of the 60-day period, on

the ground that there is not a legitimate basis for the

skip.

      The    court    also    raised      the   issue   of    a   possible

conflict on the part of ADAP as it decides whether to

challenge the delayed treatment of an NGRI in favor of

a class member, because ADAP serves as counsel for both

class members and NGRIs under state law.                      Counsel for

ADAP represented at the fairness hearing that it would

make arrangements to appoint an alternative lawyer for

an NGRI if a conflict of interest ripened, and that

through      its     work    it   has     developed     a     network      of




                                     63
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 64 of 82




attorneys to whom it refers clients and who may be

willing to take on such a case.

       Persons       Ordered   to   Receive   Outpatient   Competency

Examinations:          Although persons ordered to receive an

outpatient competency examination by ADMH are not class

members, did not receive notice of the settlement, and

were    not      a    focus    of   the   amended   complaint,      the

settlement       also    has    provisions    applicable    to    them;

principally, the settlement requires ADMH to conduct

outpatient examinations within certain time periods.4



    4.    According to the procedural rules governing
competency   examinations,  all   court-ordered   mental
examinations for competency should be performed on an
outpatient basis “where feasible.”   This suggests that
the number of persons ordered to receive outpatient
examinations (who are not class members) is much larger
than the number of persons ordered to receive inpatient
examinations (who are class members).       The circuit
court should order an inpatient exam only if: “(1) the
defendant cannot be examined on an out-patient basis;
(2)   examination   in   an  out-patient    setting   is
unavailable; or (3) the appointed examiner reports that
confinement for evaluation is indispensable to a
clinically valid diagnosis and report.” Ala. R. Crim.
P. 11.3(b). Thus, the restrictions on use of inpatient
examinations ensure that defendants are not subjected
to commitment “unless a less restrictive alternative
(such as local out-patient services of a community
(continued...)
                                     64
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 65 of 82




However, at the fairness hearing in this matter, the

parties       agreed     that     persons        ordered     to      receive

outpatient competency examinations are not bound by the

terms of the settlement except to the extent that they

seek     to    enforce     or    obtain     the     benefits         of     the

settlement;      that    is,    they     could    sue   ADMH    or    Taylor

Hardin for additional relief beyond the terms of this

settlement, and would not be prejudiced by it.

       With    these     protections        in     place,      the        court

concludes      that     the     settlement       does    not      prejudice

non-party      NGRIs     and    persons     ordered     to     receive       an

outpatient competency examination.5



mental health center) is unavailable.”     Ala. R. Crim.
P. 11.3 comm. cmts.    See, e.g., Gamble v. State, 791
So. 2d 409, 420 (Ala. Crim. App. 2000) (describing
State’s motion to amend trial court order to request
out-patient examination, which could be scheduled
“almost immediately,” because inpatient examination
would have required several months delay).

    5. While the parties contend that this litigation
is not covered by the Prison Litigation Reform Act
(PLRA), the court has some concerns, for the PLRA
applies to “any civil action with respect to prison
conditions,” 18 U.S.C. § 3626(a)(1), where “prison”
means “any Federal, State or local facility that
(continued...)
                                    65
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 66 of 82




                    5.    Female Class Members

    During    the    fairness     hearing,      the    parties     were

unable to describe the status of female class members

or their particular experience on a waiting list for

admission for the purposes of a competency examination

or treatment.       Further, while the settlement provided

that new bed spaces would be built at Taylor Hardin

(the facility for men), it did not provide for any new




incarcerates or detains juveniles or adults accused of,
convicted of, sentenced for, or adjudicated delinquent
for, violations of criminal law,” id. § 3626(g)(2)
(emphasis added). Nevertheless, this issue need not be
resolved for the court believes that the settlement
meets the PLRA’s three central requirements: that
“relief is narrowly drawn, extends no further than
necessary to correct the violation of the Federal
right, and is the least intrusive means necessary to
correct the violation of the Federal right.”     Id. §
3626(a)(1).   True, the settlement does mention certain
third parties, but this is to assure, expressly, that
the settlement’s impact on those parties is limited as
to them and not detrimental to them.    In other words,
the settlement is narrowly tailored in that it attempts
to limit any unintended impact on others.     Moreover,
the court has considered “any adverse impact on public
safety or the operation of a criminal system caused by
the relief,” id., and finds no such adverse impact--in
fact, the relief provided is likely to contribute
positively to the efficient operation of the criminal
(continued...)
                                  66
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 67 of 82




bed spaces at Bryce Hospital (the facility for women).

Accordingly,        the    court    became      concerned        that        the

parties had not adequately considered the impact of the

settlement agreement on women.

       Subsequently,        the    parties        reported           on      the

experience     of    women     awaiting       admission        into       Bryce

Hospital.      While       there   are   no     current    female          class

members, 17 women have had to wait for admission into

Bryce    Hospital     since    January     1,    2017,    for    either        a

competency     examination         or    treatment.            See        Second

Stipulation (doc. no. 89) ¶ 2.                   However, unlike the

male prisoners such as named plaintiffs, who wait on

average six to eight months for admission, women have

had to wait on average seven days from ADMH’s receipt

of a court order, with no wait longer than ten days.

Id.     It appears that, at least in 2017, the waiting

times for females into Bryce Hospital are far shorter

than    even   the    30    days    required      by     the    settlement



justice system, by ensuring timely transfer of inmates
for competency evaluation and restoration.

                                    67
     Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 68 of 82




agreement.        The parties agreed that all provisions of

the    settlement       apply     with       equal    force     to    male   and

female class members.             Further, the parties represented

that,     although     the    increased        bed    capacity       under    the

settlement       would       be   dedicated          entirely        to    Taylor

Hardin, that would indirectly lead to additional space

at    Bryce    Hospital       because,        in     addition    to       serving

women, Bryce Hospital also receives overflow placements

from Taylor Hardin.

      While the court applauds ADMH’s current ability to

admit female class members in relatively short order,

the court notes that the dramatically lower wait times

for    women    at     the   time    of      approval       could     skew    the

measurement of ADMH’s substantial compliance with the

time periods for admission.                  In other words, buoyed by

the    short    wait    times     for     women,      ADMH    could       achieve

substantial       compliance        despite        delays    persisting       for

men well in excess of the required 30- and 45-day time

periods.       Of course, the fact that there are relatively

few female compared to male class members, and that


                                        68
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 69 of 82




female      class     members       are    on   the   waiting        list   only

intermittently (there were no women on the waiting list

as of early August 2017), should keep that effect to a

minimum.      Nonetheless, the court recommends that, over

the course of its monitorship, ADAP should monitor the

delays specific to male and female class members to

ensure that shorter delays in admission are achieved

for both groups of class members.



       C.    Class Counsel and Fees: Rule 23(g) and (h)

                               i.    Rule 23(g)

       Subpart      (g)   of    Rule       23   requires       the    court   to

appoint      (and      also     to        assess   the     suitability         of

plaintiffs’ counsel to serve as) class counsel.                               The

rule    requires       the     court       to   consider      “(i) the      work

counsel      has      done     in    identifying         or    investigating

potential        claims        in     the       action;       (ii) counsel’s

experience       in   handling       class      actions,       other   complex

litigation, and the types of claims asserted in the

action;      (iii) counsel’s          knowledge       of      the    applicable


                                          69
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 70 of 82




law; and (iv) the resources that counsel will commit to

representing the class.”          Fed. R. Civ. P. 23(g)(1)(A).

The court must conclude that class counsel will “fairly

and adequately represent the interests of the class.”

Fed. R. Civ. P. 23(g)(4).

    Lawyers     affiliated      with    ADAP,    Henry       (Hank)     F.

Sherrod III, P.C., and the ACLU of Alabama Foundation,

Inc., have represented named plaintiffs in litigating

and negotiating the settlement of this case, and seek

appointment as class counsel.            The record in this case

as well as affidavits submitted by plaintiffs’ counsel

reflect      that    these      attorneys        have       substantial

experience    in    litigating       class    actions       and   in   the

complex     substantive      areas     of     both    prisoner-        and

disability-rights law.

    These     lawyers    have    also       devoted     a   significant

amount of time and energy to identifying and developing

the claim and evidence in this case.                  They identified

plaintiffs, investigated their allegations, drafted a

lengthy complaint, appeared at numerous court hearings


                                  70
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 71 of 82




and conferences, participated in days of mediation, and

responded to questions raised by the court and comments

made     by     class      members     regarding      the    settlement

agreement.

       Finally,      the   court     cannot   identify--and     neither

defendants nor the prisoners who have commented on the

settlement       agreement      have      suggested--any    reason      to

believe       that    these     attorneys     have   not    fairly   and

adequately represented the interests of the class, or

will not do so in the future.

       The    court     therefore      concludes     that   plaintiffs’

counsel should be appointed class counsel.



                              ii.   Rule 23(h)

       Subpart (h) of Rule 23 requires that, when class

counsel seek fees and costs “that are authorized by law

or by the parties’ agreement,” they must move for those

fees and provide notice to the class.                 Fed. R. Civ. P.

23(h)(1).       Class members (and also defendants, absent a

settlement) must be given notice and an opportunity to


                                     71
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 72 of 82




object, and the court must find that the award sought

is reasonable.         Fed. R. Civ. P. 23(h)(2), (h)(3).

       The settlement agreement provides that defendants

will pay plaintiffs’ counsel $ 275,000 for all fees and

expenses incurred up to March 13, 2017, $275 per hour

plus reasonable expenses incurred on and after March 14

until final settlement approval, as well as additional

fees    (subject       to     caps)    of   $ 195.00    per    hour    for

attorneys    and       $65    for     paralegals,     law    clerks,    and

members     of    ADAP’s       monitoring      unit    for     monitoring

services.        For litigation arising out of the consent

decree, plaintiffs’ counsel will be entitled to fees

(again, subject to caps) only if the court finds that

their services were necessary and that they attempted

to resolve the issue informally.

       Because    this        provision      was    included     in    the

settlement agreement, class members received notice of

it.     None of the comments received objected to the fee

provision.       For    the    reasons      that    follow,    the    court




                                       72
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 73 of 82




concludes that the fees contemplated by the settlement

agreement are appropriate.

       Even when both parties agree to an award, the court

has     an   independent       responsibility          to      assess    its

reasonableness, in order to guard against the risk that

class counsel might agree to enter into a settlement

less    favorable      to     their        clients    in    exchange      for

inappropriately high fees.             See Piambino v. Bailey, 610

F.2d 1306, 1328 (5th Cir. 1980).6                    The court uses the

lodestar     method,        multiplying       the     number     of     hours

reasonably expended by a reasonable hourly rate, see

Norman v. Hous. Auth. of Montgomery, 836 F.2d 1292,

1299 (11th Cir. 1988), and then considering whether an

upward or downward adjustment is warranted in light of




    6. The Eleventh Circuit Court of Appeals has
adopted as precedent all decisions of the former Fifth
Circuit Court of Appeals rendered prior to October 1,
1981.   See Bonner v. Prichard, 661 F.2d 1206, 1207
(11th Cir. 1981) (en banc).



                                      73
   Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 74 of 82




the   factors    set   out    in    Johnson     v.   Georgia    Highway

Express, Inc., 488 F.2d 714, 717-19 (5th Cir. 1974).7

      In support of the attorney fees provision of the

settlement      agreement,         the   parties        have    jointly

represented       that       plaintiffs’         counsel       incurred

approximately $ 374,000 in fees litigating this case as

of March 13; the agreed award of $ 275,000 would cover

approximately 74 % of that figure. Evidence submitted

by plaintiffs shows that this rate of adjustment from

the lodestar figure is consistent with or below the

adjustments     deemed     reasonable      in   other    civil-rights

cases in Alabama.



    7. These factors are: (1) the time and labor
required; (2) the novelty and difficulty of the
questions; (3) the skill required to perform the legal
services   properly;    (4) the   preclusion    of   other
employment by the attorney due to acceptance of the
case;   (5) the   customary   fee    in   the   community;
(6) whether the fee is fixed or contingent; (7) time
limitations imposed by the client or circumstances;
(8) the amount involved and the results obtained;
(9) the experience, reputation, and ability of the
attorneys; (10) the “undesirability” of the case;
(11) the   nature   and   length   of   the   professional
relationship with the client; and (12) awards in
similar cases.

                                   74
     Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 75 of 82




       In addition, plaintiffs’ counsel request $ 275 per

hour plus reasonable expenses incurred for the period

March 14 until final settlement approval, as well as

additional fees (subject to caps) of $ 195.00 per hour

for attorneys and $ 65 for paralegals, law clerks, and

members          of        ADAP’s    monitoring     unit    for     monitoring

services. Evidence submitted by plaintiffs shows that

this    rate          is    consistent    with    or    below    rates     deemed

reasonable in other civil rights cases in Alabama.                              The

court       also       finds    the    parties’     joint    statement         that

plaintiffs’ counsel expended 783.4 hours as of March 13

to     be    entirely          convincing,       given     the    court’s       own

knowledge of the amount of time numerous attorneys have

spent       in    court        and   in   mediation.        Based     on      these

findings,             the      lodestar        figure     amounts     to       the

$ 374,062.50 provided for in the settlement agreement,

of which the parties have negotiated a reduction to

$ 275,000.

       After considering the Johnson factors, the court

finds       that       no     further     downward       adjustment      of     the


                                          75
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 76 of 82




lodestar figure is warranted.                  This litigation, which

has   been    ongoing    since    September       2016,    is   large    in

scope;       it   concerns       both      prisoners         subject     to

examination for their competency to stand trial as well

as those subject to competency-restoration therapy, and

it sought and achieved a settlement that mandates a

significant       transformation          in     the   way      that    the

Department treats such prisoners.                The range of complex

legal     and     factual       questions        presented       by     the

plaintiffs’ claim, and the amount of time plaintiffs’

attorneys spent in gathering evidence and preparing the

complaint, and in negotiating and securing approval of

the     settlement      agreement        over    several     conferences

before the magistrate judge, warrant the sizeable fee

award.       Moreover,    the    court      is    convinced     that    the

experienced attorneys who litigated this case, and who

took it on without any guarantee of compensation, would

have been entitled to a higher hourly rate had they

litigated a contested fee motion.




                                    76
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 77 of 82




                              III.    CONCLUSION

      This settlement reflects the ADMH’s commitment to

making manifest the rights of prisoners in its custody

who   are    in        need   of     competency      determinations           and

restoration treatment; it represents the shouldering of

significant           responsibility,       and     presents       an     equally

significant       opportunity,         by   delineating        a    years-long

process     of    ensuring       compliance       with   the       dictates    of

federal     law.           The     court     understands           the     ADMH’s

investment in this process to be genuine, and commends

it for it.

      The court also recognizes the important role played

by detainees in need of mental-health evaluation and

treatment        in    bringing      this   litigation,        and       commends

both the named plaintiffs and the detainees and others

who   submitted         comments     for    their    advocacy        on    behalf

both of themselves and of others.

      Finally, the court expresses its appreciation to

United States Magistrate Judge Charles S. Coody for his




                                       77
  Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 78 of 82




extensive efforts in helping the parties to reach this

settlement agreement.



                                * * *

    In accordance with the foregoing opinion, it is

ORDERED as follows:

    (1) An      injunctive-relief         settlement       class        is

         certified under Federal Rule of Civil Procedure

         23(a) and (b)(2), defined as “All persons who

         have been, or will be during the period that

         this Agreement remains in effect, charged with

         a crime, within the meaning of Rule 1.4(b) of

         the Alabama Rules of Criminal Procedure, in a

         court of competent jurisdiction in the State of

         Alabama, and detained in an Alabama city or

         county      jail      or      Alabama      Department          of

         Corrections         facility       while       awaiting         a

         court-ordered           Mental          Evaluation             or

         court-ordered Competency Restoration Treatment

         (i) For whom a Circuit Court has determined


                                  78
Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 79 of 82




       that    reasonable        grounds         exist    for       a    mental

       examination       into     the      person’s       competency           to

       stand trial under Rule 11 of the Alabama Rules

       of Criminal Procedure and committed the person

       to the custody of [Alabama Department of Mental

       Health (ADMH)] under Rule 11.3 of the Alabama

       Rules of Criminal Procedure by court order for

       an   inpatient     evaluation,            whether       or       not   the

       court’s order references any provision of law

       in     so   ordering;          or     (ii)        Who    is        found

       incompetent to stand trial under Rule 11 of the

       Alabama        Rules     of      Criminal         Procedure            and

       committed to the custody of ADMH under Rule

       11.6 of the Alabama Rules of Criminal Procedure

       by     court    order      for      Competency          Restoration

       Therapy,       whether     or       not    the     court’s         order

       references        any     provision          of     law          in    so

       ordering.”

 (2) The       Alabama        Disabilities         Advocacy         Program,

       Henry (Hank) F. Sherrod III, P.C., and the ACLU


                                 79
Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 80 of 82




       of Alabama Foundation are appointed as class

       counsel to represent the settlement class under

       Federal Rule of Civil Procedure 23(g).

 (3) The      parties’     settlement        agreement     (doc.     no.

       60-1), as amended, is approved, subject to the

       above constructions of Sections VIII, X.2, and

       X.4.

 (4) The      objections       to     the    settlement     agreement

       (doc. no. 69-1) are overruled.

 (5) The      parties’     stipulated         modifications      (doc.

       nos. 84 and 89) are adopted.

 (6) The settlement agreement, as modified by the

       stipulations, is entered as a separate consent

       decree.       Defendant        Lynn    T.     Beshear,   in   her

       official capacity as the Commissioner of the

       Alabama     Department        of     Mental    Health,   is    to

       commence compliance with its terms.

 (7) The settlement agreement’s provisions regarding

       attorneys’       fees        are     approved.     Plaintiffs’

       counsel are instructed to submit a motion for


                                80
Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 81 of 82




       attorneys’ fees within 14 days of this order,in

       accordance with Federal Rule of Civil Procedure

       54(d)(2).

 (8) The parties are to meet and confer and submit

       to the court by            no later    than February 15,

       2018,    a   plan    for    providing    notice     to    class

       members of the entry of this consent decree and

       for   ensuring      that    class   members     have     access

       during the pendency of the consent decree to

       both it and this opinion.             In particular, this

       notice       must      describe        in     lay        terms,

       understandable         to       a   person     of      limited

       education, the rights set out in the decree.

       The clerk of the court is DIRECTED to enter

       this document on the civil docket as a final

       judgment pursuant to Rule 58 of the Federal

       Rules of Civil Procedure.




                                  81
Case 2:16-cv-00798-MHT-CSC Document 93 Filed 01/25/18 Page 82 of 82




       This case is closed.

 DONE, this the 25th day of January, 2018.

                                 /s/ Myron H. Thompson
                              UNITED STATES DISTRICT JUDGE




                                82
